        Case 2:15-cv-01324-SM-DEK Document 8 Filed 05/27/15 Page 1 of 1




                           UNITED STATES DISTRICT COURT

                           EASTERN DISTRICT OF LOUISIANA

MYESHIA S. AMBROSE-FRAZIER    * CIVIL ACTION
                              *
VERSUS                        * NO. 2:15-cv-01324-SM-DEK
                              *
HERZING, INC., HERZING        * JUDGE MORGAN
UNIVERSITY, LTD AND           *
JASON MORGAN                  * MAGISTRATE KNOWLES
ATTORNEY GENERAL AND          *
                              *
****************************************************

                                            ORDER

        Considering the Consent Motion for Extension of Time filed by Defendants, Herzing,

Inc., which also does business as Herzing University, and Jason Morgan;

        IT IS ORDERED that Defendants are hereby granted an extension until June 10, 2015

within which to file responsive pleadings in the captioned matter.

        New Orleans, Louisiana this _______             May
                                     27th day of ____________________, 2015.



                                                    ______________________________
                                                     United StatesJUDGE
                                                                   Magistrate Judge


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